     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 1 of 9 Page ID #:1


 1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
     MANNING LAW, APC
 2   20062 SW Birch Street, Ste. 200
 3   Newport Beach, CA 92660
     Office: (949) 200-8755
 4   DisabilityRights@manninglawoffice.com
 5

 6   Attorney for Plaintiff: JAMES RUTHERFORD
 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     LEE & EO INVESTORS, LLC, a
                                                  325).
18   California limited liability company;
     and DOES 1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendant LEE & EO INVESTORS, LLC, a California limited liability company;
24
     and Does 1-10 (“Defendants”) and alleges as follows:
25
                                             PARTIES
26
           1.      Plaintiff is substantially limited in performing one or more major life
27
     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
                                                1
                                           COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 2 of 9 Page ID #:2


 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   LEE & EO INVESTORS, LLC, a California limited liability company, owned the
11   property located at 500 S Euclid St., Anaheim, CA 92802 (“Property”) on or around
12   July 30, 2020.
13          3.     Plaintiff is informed and believes and thereon alleges that Defendant
14   LEE & EO INVESTORS, LLC, a California limited liability company, owns the
15   Property currently.
16          4.     Plaintiff does not know the true name of Defendant, its business
17   capacity, its ownership connection to the Property serving Taqueria Garcia
18   (“Business”), or its relative responsibilities in causing the access violations herein
19   complained of. Plaintiff is informed and believes that each of the Defendants herein,
20   including Does 1 through 10, inclusive, is responsible in some capacity for the
21   events herein alleged, or is a necessary party for obtaining appropriate relief.
22   Plaintiff will seek leave to amend when the true names, capacities, connections, and
23   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
24                               JURISDICTION AND VENUE
25          5.     This Court has subject matter jurisdiction over this action pursuant
26   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
27          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
                                                  2
                                             COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 3 of 9 Page ID #:3


 1   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 2   federal ADA claims in that they have the same nucleus of operative facts and
 3   arising out of the same transactions, they form part of the same case or controversy
 4   under Article III of the United States Constitution.
 5          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 6   real property which is the subject of this action is located in this district and because
 7   Plaintiff's causes of action arose in this district.
 8                                FACTUAL ALLEGATIONS
 9          8.     Plaintiff went to the Business on or about July 30, 2020 for the dual
10   purpose of ordering a burrito and to confirm that this public place of accommodation
11   is accessible to persons with disabilities within the meaning federal and state law.
12          9.     The Business is a facility open to the public, a place of public
13   accommodation, and a business establishment.
14          10.    Parking spaces are one of the facilities, privileges, and advantages
15   reserved by Defendants to persons at the Property serving the Business.
16          11.    Unfortunately, although parking spaces were one of the facilities
17   reserved for patrons, there were no designated parking spaces available for persons
18   with disabilities that complied with the 2010 Americans with Disabilities Act
19   Accessibility Guidelines (“ADAAG”) on July 30, 2020.
20          12.    At that time, instead of having architectural barrier free facilities for
21   patrons with disabilities, Defendants have: nothing to prevent parked vehicles from
22   obstructing the accessible route from the parking area to the entrance. (Parking
23   spaces and access aisles shall be designed so that cars and vans, when parked, cannot
24   obstruct the required clear width of adjacent accessible routes per Section 502.7.
25   Advisory 502.7 Relationship to Accessible Routes: Wheel stops are an effective way
26   to prevent vehicle overhangs from reducing the clear width of accessible route);
27   accessible parking spaces that are not located on the shortest accessible route to the
28   entrance per Section 208.3.1. (Parking spaces complying with 502 that serve a
                                                  3
                                             COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 4 of 9 Page ID #:4


 1   particular building or facility shall be located on the shortest accessible route from
 2   parking to an entrance complying with 206.4. Where parking serves more than one
 3   accessible entrance, parking spaces complying with 502 shall be dispersed and
 4   located on the shortest accessible route to the accessible entrances. The entrance to
 5   this facility is at one end of the building with the accessible parking spaces clustered
 6   at the opposite other end); and, no accessible routes connecting the parking to the
 7   main entrance or elements within the facility as required by Section 206.2.2 (which
 8   requires that at least one accessible route shall connect accessible buildings,
 9   accessible facilities, accessible elements, and accessible spaces that are on the same
10   site, and 206.1 requiring access to the site arrival point (main entrance) from the
11   public street).
12          13.    Subject to the reservation of rights to asset further violations of law
13   after a site inspection found infra, Plaintiff asserts there are additional ADA
14   violations which affect him personally.
15          14.    Plaintiff is informed and believes and thereon alleges Defendants had
16   no policy or plan in place to make sure that there was compliant accessible parking
17   reserved for persons with disabilities prior to July 30, 2020.
18          15.    Plaintiff is informed and believes and thereon alleges Defendants have
19   no policy or plan in place to make sure that the designated disabled parking for
20   persons with disabilities comport with the ADAAG.
21         16.     Plaintiff personally encountered these barriers. The presence of these
22   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
23   conditions at public place of accommodation and invades legally cognizable
24   interests created under the ADA.
25          17.    The conditions identified supra in paragraph 12 are necessarily related
26   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
27   the major life activities of walking, standing, ambulating, sitting, in addition to
28   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
                                                 4
                                            COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 5 of 9 Page ID #:5


 1   placard; and because the enumerated conditions relate to the use of the accessible
 2   parking, relate to the slope and condition of the accessible parking and accessible
 3   route to the accessible entrance, and, relate to the proximity of the accessible parking
 4   to the accessible entrance.
 5          18.      As an individual with a mobility disability who at times relies upon a
 6   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 7   accommodations have architectural barriers that impede full accessibility to those
 8   accommodations by individuals with mobility impairments.
 9          19.      Plaintiff is being deterred from patronizing the Business and its
10   accommodations on particular occasions, but intends to return to the Business for the
11   dual purpose of availing himself of the goods and services offered to the public and
12   to ensure that the Business ceases evading its responsibilities under federal and state
13   law.
14          20.      Upon being informed that the public place of accommodation has
15   become fully and equally accessible, he will return within 45 days as a “tester” for
16   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
17   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
18          21.      As a result of his difficulty experienced because of the inaccessible
19   condition of the facilities of the Business, Plaintiff was denied full and equal access
20   to the Business and Property.
21          22.      The Defendants have failed to maintain in working and useable
22   conditions those features required to provide ready access to persons with
23   disabilities.
24          23.      The U.S. Department of Justice has emphasized the importance of
25   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
26   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
27   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
28   Coronavirus Disease 2019 (COVID-19) found at
                                                  5
                                             COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 6 of 9 Page ID #:6


 1   https://www.ada.gov/aag_covid_statement.pdf.
 2         24.    The violations identified above are easily removed without much
 3   difficulty or expense. They are the types of barriers identified by the Department of
 4   Justice as presumably readily achievable to remove and, in fact, these barriers are
 5   readily achievable to remove. Moreover, there are numerous alternative
 6   accommodations that could be made to provide a greater level of access if complete
 7   removal were not achievable.
 8         25.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 9   alleges, on information and belief, that there are other violations and barriers in the
10   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
11   notice regarding the scope of this lawsuit, once he conducts a site inspection.
12   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
13   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
14   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
15   have all barriers that relate to his disability removed regardless of whether he
16   personally encountered them).
17         26.    Without injunctive relief, Plaintiff will continue to be unable to fully
18   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
19                               FIRST CAUSE OF ACTION
20   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
21     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
22                                        (P.L. 110-325)
23         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
24   above and each and every other paragraph in this Complaint necessary or helpful to
25   state this cause of action as though fully set forth herein.
26         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
27   privileges, advantages, accommodations, facilities, goods, and services of any place
28   of public accommodation are offered on a full and equal basis by anyone who owns,
                                                 6
                                            COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 7 of 9 Page ID #:7


 1   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 2   Discrimination is defined, inter alia, as follows:
 3                a.     A failure to make reasonable modifications in policies, practices,
 4                       or procedures, when such modifications are necessary to afford
 5                       goods, services, facilities, privileges, advantages, or
 6                       accommodations to individuals with disabilities, unless the
 7                       accommodation would work a fundamental alteration of those
 8                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 9                b.     A failure to remove architectural barriers where such removal is
10                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
11                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
12                       Appendix "D".
13                c.     A failure to make alterations in such a manner that, to the
14                       maximum extent feasible, the altered portions of the facility are
15                       readily accessible to and usable by individuals with disabilities,
16                       including individuals who use wheelchairs, or to ensure that, to
17                       the maximum extent feasible, the path of travel to the altered area
18                       and the bathrooms, telephones, and drinking fountains serving
19                       the area, are readily accessible to and usable by individuals with
20                       disabilities. 42 U.S.C. § 12183(a)(2).
21         29.    Any business that provides parking spaces must provide accessible
22   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
23   shall be at the same level as the parking spaces they serve. Changes in level are not
24   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
25   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
26   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
27   designated disabled parking space is a violation of the law and excess slope angle in
28   the access pathway is a violation of the law.
                                                7
                                           COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 8 of 9 Page ID #:8


 1         30.       A public accommodation must maintain in operable working condition
 2   those features of its facilities and equipment that are required to be readily accessible
 3   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 4         31.       Here, the failure to ensure that accessible facilities were available and
 5   ready to be used by Plaintiff is a violation of law.
 6         32.       Given its location and options, Plaintiff will continue to desire to
 7   patronize the Business but he has been and will continue to be discriminated against
 8   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 9   the barriers.
10                                SECOND CAUSE OF ACTION
11       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
12         33.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
13   above and each and every other paragraph in this Complaint necessary or helpful to
14   state this cause of action as though fully set forth herein.
15         34.       California Civil Code § 51 et seq. guarantees equal access for people
16   with disabilities to the accommodations, advantages, facilities, privileges, and
17   services of all business establishments of any kind whatsoever. Defendants are
18   systematically violating the UCRA, Civil Code § 51 et seq.
19         35.       Because Defendants violate Plaintiff’s rights under the ADA,
20   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
21   52(a).) These violations are ongoing.
22         36.       Plaintiff is informed and believes and thereon alleges that Defendants’
23   actions constitute discrimination against Plaintiff on the basis of a disability, in
24   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
25   previously put on actual or constructive notice that the Business is inaccessible to
26   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
27   inaccessible form, and Defendants have failed to take actions to correct these
28   barriers.
                                                  8
                                              COMPLAINT
     Case 8:20-cv-01615-JLS-DFM Document 1 Filed 08/28/20 Page 9 of 9 Page ID #:9


 1                                         PRAYER
 2   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 3   follows:
 4         1.     A preliminary and permanent injunction enjoining Defendants from
 5   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
 6   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
 7   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
 8   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
 9   under the Disabled Persons Act (Cal. C.C. §54) at all.
10         2.     An award of actual damages and statutory damages of not less than
11   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
12         3.     An additional award of $4,000.00 as deterrence damages for each
13   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
14   LEXIS 150740 (USDC Cal, E.D. 2016); and,
15         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
16   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
17

18                               DEMAND FOR JURY TRIAL
19         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
20   raised in this Complaint.
21

22   Dated: August 27, 2020                  MANNING LAW, APC
23

24                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
25                                       Attorney for Plaintiff
26

27

28
                                                9
                                           COMPLAINT
